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                                                                                  FILED IN THE
1                                                                             U.S. DISTRICT COURT
                                                                        EASTERN DISTRICT OF WASHINGTON


2                                                                         Jul 28, 2022
                                                                             SEAN F. MCAVOY, CLERK
3
                                UNITED STATES DISTRICT COURT
4
                               EASTERN DISTRICT OF WASHINGTON
5

6    UNITED STATES OF AMERICA,                        No.   4:18-cr-6054-EFS-1

7                             Plaintiff,              ORDER TO SHOW CAUSE AND
                                                      PLACING HOLD ON
8                    v.                               DEFENDANT’S INMATE TRUST
                                                      ACCOUNT
9    SAMI ANWAR,

10                            Defendant.

11

12            Before the Court is the United States’ Motion to Authorize Payment from

13   Inmate Trust Account. 1 The United States “requests this Court to enter an order

14   authorizing the Bureau of Prisons to turn over to the Clerk of Court all of the funds

15   held in the inmate trust account for the above named Defendant, less $200 to

16   remain in the account, as payment toward the criminal monetary penalties

17   imposed in this case.” 2 For the reasons that follow, the Court finds that it lacks

18   sufficient information to rule upon the United States’ motion and places a hold on

19   the requested funds pending additional filings and further court order.

20   //

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22   1    ECF No. 300.

23   2    ECF No. 300 at 1.

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1             In its motion, the United States primarily invokes the Mandatory Victims

2    Restitution Act (MVRA)—specifically 18 U.S.C. § 3664(n). 3 However, as the United

3    States acknowledges, in the unpublished decision of United States v. Poff, the

4    Court of Appeals for the Ninth Circuit was “persuaded by the Fifth Circuit’s

5    analysis . . . that § 3664(n) refers to windfalls or sudden financial injections that

6    become ‘suddenly available’ to the defendant. 4 The Ninth Circuit’s decision in Poff,

7    and the cases cited therein, strongly suggest that § 3664(n) does not apply to small

8    amounts regularly received by a prisoner, even if they accumulate into a

9    substantial sum. 5

10            Here, as in Poff, “the record is unclear about the source of the funds [to be]

11   seized from [Defendant]’s inmate trust account.” 6 The United States has not

12   presented any evidence regarding the sources, the amounts, or the timing of the

13   deposited sums comprising Defendant’s trust-account balance. This leaves the

14   Court unable to “determine the exact composition of the account balance and to

15   determine if the government’s turnover motion is properly considered pursuant to

16   § 3664(n) or if [any] payments constitute a ‘material change in the defendant's

17

18   3   See, generally, ECF No. 300.

19   4   United States v. Poff, 781 F. App’x 593, 594 (9th Cir. 2019) (cleaned up) (quoting

20   United States v. Hughes, 914 F.3d 947, 951 (5th Cir. 2019)).

21   5   See id. at 594–95 (indicating § 3664(n) does not apply to accumulated prison

22   wages or disability payments received).

23   6   Id. at 594.

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1    economic circumstances,’ better addressed pursuant to § 3664(k) . . . .” 7 The Court

2    therefore directs the United States to show cause why the Court should order the

3    requested payment from Defendant’s trust account.

4             However, the Court agrees with the United States that, absent court action,

5    Defendant and/or others could have “the opportunity to possibly dissipate, conceal,

6    or transfer the funds without first paying his monetary penalties.” 8 As such, until

7    the Court rules upon the United States’ motion, the Bureau of Prisons shall place a

8    hold on any withdrawals from Defendant’s trust account, except for $500.00, which

9    shall remain available to him as general funds. 9

10            Accordingly, IT IS HEREBY ORDERED:

11            1.    By Thursday, August 04, 2022, the United States shall file

12                  additional briefing and/or evidence showing cause why the Court

13                  should order payment from Defendant’s trust account.

14

15   7   See Poff, 781 F. App’x at 595 (reversing and remanding for the district court to

16   make such a determination); see also 18 U.S.C. § 3664(k).

17   8   ECF No. 300 at 7.

18   9   The Court sets aside the $500.00 in general funds for Defendant’s commissary

19   needs and/or similar expenses during the interim. Cf. Zoukis Consulting Group,

20   Inmate Canteen/Inmate Commissary Items, https://prisonerresource.com/prison-

21   life/first-day-in-prison/inmate-canteen-prison-commissary/ (last viewed July 27,

22   2022) (listing $360.00 as the monthly spending limit for the commissary at FCI

23   Sheridan).

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1          2.     By Thursday, August 25, 2022, Defendant may file an optional

2                 response.

3          3.     By Tuesday, August 30, 2022, the United States may file an

4                 optional reply to Defendant’s response. Such reply shall not exceed

5                 5 pages.

6          4.     The United States’ Motion to Authorized Payment from Inmate Trust

7                 Account, ECF No. 300, is RESET for hearing without oral argument

8                 on Friday, September 02, 2022.

9          5.     Pending further court order, the Bureau of Prisons is directed to place

10                a HOLD on all funds, EXCEPT for $500.00 in general funds,

11                currently held or subsequently deposited in Defendant’s inmate trust

12                account:

13                      Sami Anwar, Reg. No. 21140-085
                        FCI Sheridan
14                      Federal Correctional Institution
                        P.O. Box 5000
15                      Sheridan, OR 97378.

16         IT IS SO ORDERED. The Clerk’s Office is directed to enter this order and

17   provide copies to Defendant, the Bureau of Prisons, and all counsel.

18         DATED this 28th day of July 2022.

19                                   s/Edward F. Shea
                                      EDWARD F. SHEA
20                            Senior United States District Judge

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                                                                               ORDER - 4
